                                                                  Case 5:20-cv-03196-EJD Document 41 Filed 11/12/20 Page 1 of 2




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                                                                                               UNITED STATES DISTRICT COURT
                                                          10
                                                                                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                          12 VINEY SAROYA, Individually and on behalf
                       400 South Hope Street, 8th Floor




                                                                                                            Case No.: 5:20-cv-03196-EJD
Holland & Knight LLP




                                                             of all others similarly situated,
                           Los Angeles, CA 90071




                                                          13                                                [Assigned to the Hon. Edward J. Davila,
                             Fax: 213.896.2450
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                                                                                 Plaintiff,                 United States District Judge]
                                                          14
                                                                      v.
                                                          15                                                DEFENDANT UNIVERSITY OF THE
                                                             UNIVERSITY OF THE PACIFIC,                     PACIFIC’S OBJECTION TO
                                                          16                                                PLAINTIFF'S NOTICE OF
                                                                                                            SUPPLEMENTAL AUTHORITY
                                                          17                      Defendant.
                                                                                                            Hearing Date: November 19, 2020
                                                          18                                                Time: 9:00 a.m.
                                                                                                            Courtroom: 4
                                                          19                                                Judge: Hon. Edward J. Davila
                                                          20                                                Action Filed: May 10, 2020
                                                                                                            Trial Date: TBD
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                                                               OBJECTION TO NOTICE OF                                       CASE NO. 5:20-CV-03196-EJD
                                                               SUPPLEMENTAL AUTHORITY
                                                                 Case 5:20-cv-03196-EJD Document 41 Filed 11/12/20 Page 2 of 2




                                                          1           Defendant University of the Pacific (“Pacific”) hereby objects to Plaintiff’s November 5,

                                                          2    2020 Notice of Supplemental Authority (Dkt. 40), which attaches an order from the Southern

                                                          3    District of Florida issued October 31, 2020, Rosado v. Barry Univ., Inc., Case No. 20-CV-21813-

                                                          4    JEM (S.D. Fla. Oct. 31, 2020). As an initial matter, Plaintiff’s argument in its notice is improper

                                                          5    under Local Rule 7-3(d)(2).

                                                          6           Moreover, not only is the case not binding authority, the decision does not even directly

                                                          7    address the issues and arguments raised by Pacific in the current Motion to Dismiss pending before

                                                          8    this Court. In particular, Rosado does not involve application of California law under Kashmiri v.

                                                          9    Regents of Univ. of Cal., 156 Cal. App. 4th 809 (2007), nor does it involve a financial agreement

                                                          10   specifically governing a student’s tuition payment obligations. In view of at least these distinctions,

                                                          11   Rosado is not relevant. See, e.g., id. (addressing that, inter alia, a refund policy may have allocated

                                                          12   the risk of campus closures, but “[t]hese matters have not been adequately briefed by the parties”).
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                                                          14   DATED: November 12, 2020                      Respectfully submitted,

                                                          15                                                 HOLLAND & KNIGHT LLP

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                                                                                                             By /s/ Vito A. Costanzo
                                                          17                                                            Vito A. Costanzo
                                                                                                                        Kristina S. Azlin
                                                          18                                                            Stacey H. Wang
                                                          19                                                             Attorneys for Defendant,
                                                                                                                         University of the Pacific
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                                                               OBJECTION TO NOTICE OF                                               CASE NO. 5:20-CV-03196-EJD
                                                               SUPPLEMENTAL AUTHORITY
